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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN

                                                :
James Curlee,                                   :
                                                : Civil Action No.: 1:13-cv-01272
                                                :
                      Plaintiff,                :
       v.                                       :
                                                :
Credit One Financial d/b/a Credit One Bank;     :
and DOES 1-10, inclusive,                       :
                                                :
                      Defendants.               :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)


       James Curlee (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: January 29, 2014

                                                           Respectfully submitted,


                                                           By: /s/ Sergei Lemberg

                                                           Sergei Lemberg, Esq.
                                                           LEMBERG LAW L.L.C.
                                                           1100 Summer Street, 3rd Floor
                                                           Stamford, CT 06905
                                                           Telephone: (203) 653-2250
                                                           Facsimile: (203) 653-3424
                                                           Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2014, a true and correct copy of the foregoing Notice
of Withdrawal was served electronically by the U.S. District Court for the Western District of
Michigan Electronic Document Filing System (ECF) and that the document is available on the
ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                  Sergei Lemberg
